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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON

                                        Electronically Filed

   DAVID WILSON, as Administrator of the
   Estate of Lisa Noble, Deceased, Plaintiff
                                                    C.A. No.: 6:17-00157-CHB-HAI

                                                    PLAINTIFF’S MOTION FOR
   VS.                                              SANCTIONS FOR INTENTIONAL
                                                    DESTRUCTION AND FAILURE TO
                                                    PRESERVE ELECTRONICALLY
                                                    STORED INFORMATION
   BEACON TRANSPORT, LLC and
   TERRAN COOPER, Defendants




         Comes Plaintiff pursuant to Judge Ingram’s Order at Docket No. 129, by counsel,

 Moving for Sanctions for the Defendants’ Intentional Destruction and Failure to Preserve

 Electronically Stored Information against Beacon Transport, LLC and Terran Cooper. Both

 Defendants maliciously and intentionally destroyed and purposely failed to preserve material

 electronic information. Severe sanctions are appropriate under Rule 37(e). Plaintiff’s

 Memorandum in support of this motion is filed herewith, as is a proposed Order for the Court.


                                               Respectfully submitted,



                                               _ /s/Timothy D. Lange___________
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                                              ATTORNEYS FOR PLAINTIFF




                                         CERTIFICATE

        It is hereby certified that on the foregoing was filed January 31, 2019 with the Clerk of

 the Court by using the CM/ECF system, which will send a notice of electronic filing to all

 counsel of record.



                                              /s/ Timothy D. Lange
                                              TIMOTHY D. LANGE




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